        Case 1:11-cv-06964-KMW Document 209 Filed 07/10/18 Page 1 of 2


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                                        July 10, 2018

By ECF

Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Rigas v. United States, No. 11 Civ. 6964 & 02 Cr. 1236

Dear Judge Wood:

       Pursuant to the Court’s individual practices, Petitioners request oral argument on their
Brady and prosecutorial-interference claims.


                                                        Respectfully submitted,

                                                        /s/ Steven F. Molo
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         Case 1:11-cv-06964-KMW Document 209 Filed 07/10/18 Page 2 of 2



                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 10th day of July, 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all parties with an e-mail address of record who have appeared and consent to

electronic service in this action.


Dated: July 10, 2018                                   /S/ Steven F. Molo
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